Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 1 of 26




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA


   TAVARES DOCHER, by and through                               CASE NO.: 2:16cv14413
   JANICE DOCHER-NEELEY, his mother and
   legal guardian,

                  Plaintiff(s),

   vs.

   CHRISTOPHER NEWMAN, individually,
   CLAYLAN MANGRUM, individually,
   CALVIN ROBINSON, individually, WADE
   COURTEMANCHE, individually, KEN J.
   MASCARA, as Sheriff of St. Lucie County,
   Florida, JOSE ROSARIO, individually, and
   the ST. LUCIE COUNTY FIRE DISTRICT,
   an independent special district,

                  Defendant(s).

                                                        /

         DEFENDANTS’, JOSE ROSARIO AND ST. LUCIE COUNTY FIRE DISTRICT,
           RESPONSE TO PLAINTIFF’S STATEMENT OF UNDISPUTED FACTS

          Defendants, Jose Rosario (“Rosario”) and St. Lucie County Fire District (“SLCFD”), by

   and through undersigned counsel, and pursuant to Rule 56, Federal Rules of Civil Procedure,

   Southern District of Florida Local Rule 56.1(a) and the Court’s Order Setting Status Conference,

   Calendar Call and Trial Date and Order of Reference to Magistrate dated October 17, 2016 [DE

   11] hereby files this their Response to Plaintiff’s Statement of Undisputed Facts [DE 131], [DE

   132] and [DE 133].

                                    PRELIMINARY STATEMENT

          Plaintiff’s alleged “statement of undisputed facts” is really Plaintiff’s side of disputed

   immaterial facts rather than true statements of undisputed material fact. Plaintiff regularly claims

   as alleged “undisputed material facts” testimony of one witness or the contents of a single
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 2 of 26




   document that are disputed by other witnesses or other documents. This is an improper use of a

   statement of undisputed material facts and overburdens Defendants’ counsel and the Court.

          Plaintiff relies largely on expert opinion testimony to support Plaintiff’s alleged

   statements of undisputed material facts. The opinions of Dr. John Sterba and Dr. Brian McAlary

   are rebutted by Defendants’ experts, Dr. Joe Anderson, Dr. Jeffrey Lindsay, Dr. Glen Levine and

   Dr. Dickinson.

   REPLY TO PLAINTIFF’S RESPONSES TO ROSARIO’S AND SLCFD’S STATEMENT
                  OF UNDISPUTED FACTS [DE 100] & [DE 101]

          1.        Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper.

          2.        Undisputed.

          3.        Undisputed.

          4.        Undisputed.

          5.        Undisputed.

          6.        Undisputed.

          7.        Objection, Plaintiff’s response contains improper argument and citation to case

   law rather than listing of material facts and is hence improper.

          8.        Undisputed.

          9.        Undisputed.

          10.       Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 3 of 26




   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

           11.     Objection, to the extent that Plaintiff’s response contains improper argument and

   rather than listing of material facts and is hence improper.

           12.      Undisputed.

           13.     Undisputed.

           14.     Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. Dr. Sterba’s testimony as to a timeline based upon the CVS

   video and cell phone video are subject to a Motion to Exclude. [DE 103]. An expert opinion is

   not an undisputed issue of material fact sufficient to support or deny summary judgment. See e.g.

   In re Kane & Kane, 479 B.R. 617, 630 (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food

   Serv., Inc., 434 F.2d 119, 1193-94 (5th Cir. 1970)) (granting summary judgment inappropriate

   where issue of fact is in form of expert opinion). Opinions must be evaluated by jury. Id. (“trier

   of fact is not bound by expert testimony and may substitute its own common sense judgment for

   that of the experts”). See also Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989)

   (“Even uncontradicted expert opinion testimony is not conclusive, and the jury has every right

   not to accept it.”).

           15.     Undisputed.

           16.     Undisputed.
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 4 of 26




           17.    Undisputed.

           18.    Undisputed.

           19.    Undisputed.

           20.    Undisputed.

           21.    Other than the time, Plaintiff fails to rebut Defendants’ statement of undisputed

   fact.

           22.     Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

           23.    Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 5 of 26




   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          24.     Plaintiff’s response does not rebut the statement.

          25.     Plaintiff’s response does not rebut the statement.

          26.     Plaintiff’s response does not rebut the statement that Rosario denied smelling

   alcohol on Docher or Rosario’s impression.

          27.     Plaintiff’s response does not rebut the statement.

          24. [sic.] Plaintiff’s response does not rebut the statement.

          25. [sic.] Undisputed.

          26. [sic.] Plaintiff’s response misstates testimony. Docher did not stop struggling while

   he was restrained by the sheriff deputies. A copy of Jose Rosario’s deposition transcript is

   attached hereto as Exhibit 1 (Rosario Dep. 63:11-16; 67:6-69:18; 79:5-19). (Sinclair Dep. 10:-

   24; 12:22-13:8; 13:22-25, July 31, 2017). A copy of Thomas Sinclair’s deposition transcript is

   attached hereto as Exhibit 2.

          27. [sic.] Undisputed. Statement of fact does reference “stable”.

          28. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 6 of 26




   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          29. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper.

          30. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          31. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 7 of 26




   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          32. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          33. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 8 of 26




          34. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Defendants’ object to the use of expert testimony as an

   alleged statement of material fact. An expert opinion is not an undisputed issue of material fact

   sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630

   (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th

   Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of expert

   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.

   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”). Plaintiff has failed to

   lay proper foundation for the alleged Indian River State College textbook.

          35. Objection, Plaintiff’s response contains improper argument rather than listing of

   material facts and is hence improper. Objection to the extent that Plaintiff’s response includes

   additional facts in violation of the Court’s Order Setting Status Conference, Calendar Call and

   Trial Date and Order of Reference to Magistrate [DE 11]. Defendants’ object to the use of expert

   testimony as an alleged statement of material fact. An expert opinion is not an undisputed issue

   of material fact sufficient to support or deny summary judgment. See e.g. In re Kane & Kane,

   479 B.R. 617, 630 (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d

   119, 1193-94 (5th Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in

   form of expert opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by

   expert testimony and may substitute its own common sense judgment for that of the experts”).

   See also Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 9 of 26




   expert opinion testimony is not conclusive, and the jury has every right not to accept it.”).

   Plaintiff has failed to lay proper foundation for the alleged Indian River State College textbook.

          36. Objection, Plaintiff’s response includes additional facts in violation of the Court’s

   Order Setting Status Conference, Calendar Call and Trial Date and Order of Reference to

   Magistrate [DE 11]. Defendants’ object to the use of expert testimony as an alleged statement of

   material fact. An expert opinion is not an undisputed issue of material fact sufficient to support

   or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630 (Bankr. S.D. Fla.

   2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th Cir. 1970))

   (granting summary judgment inappropriate where issue of fact is in form of expert opinion).

   Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony and may

   substitute its own common sense judgment for that of the experts”). See also Gregg v. U.S.

   Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”). Plaintiff has failed to

   lay proper foundation for the alleged Indian River State College textbook.

          37. Undisputed except as to specific time.

          38. Undisputed.

          39. Undisputed.

          40. Undisputed.

          41. Undisputed.

          42. Undisputed.

          43. Undisputed

          44. Undisputed. Objection to the extent that Plaintiff’s response includes additional facts

   in violation of the Court’s Order Setting Status Conference, Calendar Call and Trial Date and
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 10 of 26




   Order of Reference to Magistrate [DE 11]. Defendants’ object to the use of expert testimony as

   an alleged statement of material fact. An expert opinion is not an undisputed issue of material

   fact sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617,

   630 (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94

   (5th Cir. 1970)) (granting summary judgment inappropriate where issue of fact is in form of

   expert opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert

   testimony and may substitute its own common sense judgment for that of the experts”). See also

   Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert

   opinion testimony is not conclusive, and the jury has every right not to accept it.”).

          45. Undisputed. Objection to the extent that Plaintiff’s response includes additional facts

   in violation of the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11].

          46. Objection to the extent that Plaintiff’s response includes additional facts in violation

   of the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11].

                RESPONSES TO PLAINTIFF’S STATEMENT OF UNDISPUTED FACTS

          Plaintiff’s Response to Rosario’s Statement of Undisputed Facts [DE 132] and SLCFD’s

   Statement of Undisputed Facts [DE 133] attempts to substantively incorporate additional

   statements of fact by reference to Statement of Facts that Plaintiff has filed [DE 131] and [DE

   132], thereby violating Local Rule 56.1(a)(1) which requires that a Statement of Material Facts

   not exceed ten (10) pages.

          47.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 11 of 26




   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond.

          48.    Disputed. Misstates testimony. A copy of Calvin Robinson’s deposition transcript

   is attached hereto as Exhibit 3 (Robinson Dep. 67:7-68:4).

          49.    Disputed. Misstates testimony. A copy of Christopher Newman’s deposition

   transcript is attached hereto as Exhibit 4 (Newman Dep. 59:18-60:4; 62:3-15).

          50.    Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Disputed. Rosario has been a paramedic since 2006. See

   Exhibit 1 (Rosario Dep. 7:7-8). Otherwise, undisputed.

          51.    Disputed. Misstates testimony. “Anything past 4 milligrams, they need physician

   consult.” See Exhibit 1 (Rosario Dep. 32:13-18).

          52.    Disputed. Misstates testimony. See Exhibit 1 (Rosario Depo. 23:4-7; 30:25-31:5).

          53.    Disputed. Misstates testimony. See Exhibit 1 (Rosario Depo. 38:2-18).

          54.    Disputed. Misstates testimony. See Exhibit 1 (Rosario Depo. 38:19-21).

          55.    Disputed. Misstates testimony. See Exhibit 1 (Rosario Depo. 53:6-20).

          56.    Undisputed.

          57.    Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Otherwise, undisputed

          58.    Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 12 of 26




   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed.

          59.       Disputed. Misstates testimony, incomplete testimony. See Exhibit 1 (Rosario Dep.

   138:6-11).

          60.       Disputed. Misstates testimony. See Exhibit 1 (Rosario Dep. 78:11-79:19).

          61.       Disputed. Misstates testimony. See Exhibit 1 (Rosario Dep. 95:25-96:4).

          62.       Disputed. Misstates testimony, incomplete testimony. See Exhibit 1 (Rosario Dep.

   101:13-22).

          63.       Disputed. Misstates testimony, incomplete testimony. See Exhibit 1 (Rosario Dep.

   100:1-101:22).

          64.       Disputed. Misstates testimony. See Exhibit 1 (Rosario Dep. 103:9-105:25). A

   copy of the SLCFD guidelines for Patient Restraints in effect on May 11, 2014, is attached

   hereto as Exhibit 5.

          65.       Disputed. Misstates testimony. See Exhibit 1 (Rosario Dep. 106:14-24).

          66.       Undisputed.

          67.       Undisputed.

          68.       Disputed. Misstates testimony, incomplete testimony. See Exhibit 1 (Rosario Dep.

   126:18-127:9).

          69.       Disputed. Plaintiff’s statement of fact is an improper opinion.

          70.       Undisputed.

          71.       Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 13 of 26




   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed.

          72.    Disputed. Misstates testimony. See Exhibit 2 (Sinclair Dep. 10:-24; 12:22-13:8;

   13:22-25, July 31, 2017) Docher did not stop struggling while he was restrained by the sheriff

   deputies. See Exhibit 1 (Rosario Dep. 63:11-16; 67:6-69:18; 79:5-19).

          73.    Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed.

          74.    Undisputed.

          75.    Disputed. Misstates testimony. Captain Gonzalez is in charge of all training and

   safety issues for SLCFD. A copy of Captain Gonzalez’s deposition transcript is attached hereto

   as Exhibit 6 (Gonzalez Dep. 5:10-15).

          76.    Disputed. Misstates testimony, incomplete testimony. See Exhibit 6 (Gonzalez

   Dep. 6:5-8:15).

          77.    Disputed. Misstates testimony, incomplete testimony. Captain Gonzalez is

   referring to SLCFD’s Sedation guideline only. See Exhibit 6 (Gonzalez Dep. 37:19-38:1; 40:4-

   22).

          78.    Undisputed.

          79.    Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 14 of 26




   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed.

          80.     Disputed. Misstates testimony. See Exhibit 6 (Gonzalez Dep. 50:10-21; 52:3-24;

   54:2-8).

          81.     Undisputed.

          82.     Disputed. Objection. Plaintiff’s Statement of Material Facts violates Local Rule

   56.1(a)(3) and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single

   paragraph which makes it impossible and overly burdensome for Defendants to respond and

   therefore disputed.

          83.     Disputed. The SLCFD Sedation Guideline allows for Ativan 1 mg increments to a

   max of 4mg. A copy of SLCFD’s Sedation Guideline is attached hereto as Exhibit 7.

          84.     Disputed. SLCFD has a Patient Restraint Policy in effect in May 11, 2014. See

   Exhibit 5. Misstates testimony. See Exhibit 6 (Gonzalez Dep. 73:11-24; 74:24-75:18).

          85.     Disputed. Misstates testimony as it relates to 2006 policy not in effect on May 11,

   2014. See Exhibit 6 (Gonzalez Dep. 77:20-78:19). Fact is immaterial as to any issue pending on

   Defendants’ Motions for Summary Judgment.

          86.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed.
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 15 of 26




          87.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed. Defendants’ object to the use of expert testimony as an alleged statement of undisputed

   material fact. An expert opinion is not an undisputed issue of material fact sufficient to support

   or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630 (Bankr. S.D. Fla.

   2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th Cir. 1970))

   (granting summary judgment inappropriate where issue of fact is in form of expert opinion).

   Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony and may

   substitute its own common sense judgment for that of the experts”). See also Gregg v. U.S.

   Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          88.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed.

          89.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed. Defendants’ object to the use of expert testimony as an alleged statement of undisputed
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 16 of 26




   material fact. An expert opinion is not an undisputed issue of material fact sufficient to support

   or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630 (Bankr. S.D. Fla.

   2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th Cir. 1970))

   (granting summary judgment inappropriate where issue of fact is in form of expert opinion).

   Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony and may

   substitute its own common sense judgment for that of the experts”). See also Gregg v. U.S.

   Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          90.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of

   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

   which makes it impossible and overly burdensome for Defendants to respond and therefore

   disputed. Defendants’ object to the use of expert testimony as an alleged statement of undisputed

   material fact. An expert opinion is not an undisputed issue of material fact sufficient to support

   or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630 (Bankr. S.D. Fla.

   2012) (citing Webster v. Offshore Food Serv., Inc., 434 F.2d 119, 1193-94 (5th Cir. 1970))

   (granting summary judgment inappropriate where issue of fact is in form of expert opinion).

   Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony and may

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   Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          91.     Objection. Plaintiff’s Statement of Material Facts violates Local Rule 56.1(a)(3)

   and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and Order of
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 17 of 26




   Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single paragraph

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   Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          92.     Disputed. Objection. Plaintiff’s Statement of Material Facts violates Local Rule

   56.1(a)(3) and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single

   paragraph which makes it impossible and overly burdensome for Defendants to respond and

   therefore disputed. Defendants’ object to the use of expert testimony as an alleged statement of

   undisputed material fact. An expert opinion is not an undisputed issue of material fact sufficient

   to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617, 630 (Bankr.

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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 18 of 26




   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          93.     Disputed. Objection. Plaintiff’s Statement of Material Facts violates Local Rule

   56.1(a)(3) and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single

   paragraph which makes it impossible and overly burdensome for Defendants to respond and

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   testimony is not conclusive, and the jury has every right not to accept it.”).

          94.     Disputed. Defendants’ object to the use of expert testimony as an alleged

   statement of undisputed material fact. An expert opinion is not an undisputed issue of material

   fact sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617,

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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 19 of 26




   Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert

   opinion testimony is not conclusive, and the jury has every right not to accept it.”).

          95.     Disputed. Defendants’ object to the use of expert testimony as an alleged

   statement of undisputed material fact. An expert opinion is not an undisputed issue of material

   fact sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617,

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   Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert

   opinion testimony is not conclusive, and the jury has every right not to accept it.”).

          96.     Disputed. Objection. Plaintiff’s Statement of Material Facts violates Local Rule

   56.1(a)(3) and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single

   paragraph which makes it impossible and overly burdensome for Defendants to respond and

   therefore disputed. Defendants’ object to the use of expert testimony as an alleged statement of

   undisputed material fact. An expert opinion is not an undisputed issue of material fact sufficient

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   opinion). Opinions must be evaluated by jury. Id. (“trier of fact is not bound by expert testimony

   and may substitute its own common sense judgment for that of the experts”). See also Gregg v.
Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 20 of 26




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   testimony is not conclusive, and the jury has every right not to accept it.”).

          97.     Disputed. Defendants’ object to the use of expert testimony as an alleged

   statement of undisputed material fact. An expert opinion is not an undisputed issue of material

   fact sufficient to support or deny summary judgment. See e.g. In re Kane & Kane, 479 B.R. 617,

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   Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert

   opinion testimony is not conclusive, and the jury has every right not to accept it.”).

          98.     Disputed. Objection. Plaintiff’s Statement of Material Facts violates Local Rule

   56.1(a)(3) and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single

   paragraph which makes it impossible and overly burdensome for Defendants to respond and

   therefore disputed. Defendants’ object to the use of expert testimony as an alleged statement of

   undisputed material fact. An expert opinion is not an undisputed issue of material fact sufficient

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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 21 of 26




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   testimony is not conclusive, and the jury has every right not to accept it.”).

          99.     Disputed. Objection. Plaintiff’s Statement of Material Facts violates Local Rule

   56.1(a)(3) and the Court’s Order Setting Status Conference, Calendar Call and Trial Date and

   Order of Reference to Magistrate [DE 11]. Plaintiff comingles multiple statements into a single

   paragraph which makes it impossible and overly burdensome for Defendants to respond and

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   U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even uncontradicted expert opinion

   testimony is not conclusive, and the jury has every right not to accept it.”).

          100.    Undisputed.

          101.    Disputed. Incomplete hypothetical. Defendants’ object to the use of expert

   testimony as an alleged statement of undisputed material fact. An expert opinion is not an

   undisputed issue of material fact sufficient to support or deny summary judgment. See e.g. In re

   Kane & Kane, 479 B.R. 617, 630 (Bankr. S.D. Fla. 2012) (citing Webster v. Offshore Food Serv.,

   Inc., 434 F.2d 119, 1193-94 (5th Cir. 1970)) (granting summary judgment inappropriate where

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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 22 of 26




   the experts”). See also Gregg v. U.S. Indus., Inc., 887 F.2d 1462, 1470 (11th Cir. 1989) (“Even

   uncontradicted expert opinion testimony is not conclusive, and the jury has every right not to

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           100.    [sic.] Disputed. Defendants’ object to the use of expert testimony as an alleged

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           102.    Disputed. Defendants’ object to the use of expert testimony as an alleged

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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 23 of 26




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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 24 of 26




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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 25 of 26




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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on the 2nd day of November, 2017, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system to the following: Adam

   Hecht,     Esq.,   (Attorneys     for   Plaintiff)   ash@searcylaw.com,        axs@searcylaw.com,

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Case 2:16-cv-14413-RLR Document 155 Entered on FLSD Docket 11/02/2017 Page 26 of 26




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